Case 2:13-cv-01370-FMO-SH Document 94 Filed 06/27/14 Page 1 of 1 Page ID #:768
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   8                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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   10 ESTATE OF ARTURO CABRALES , et al.           CASE NO:
                                                   2:13−cv−01370−FMO−SH
   11                  Plaintiff(s),
              v.                                   ORDER DISMISSING ACTION
   12
        COUNTY OF LOS ANGELES , et al.             WITHOUT PREJUDICE
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   15                 Defendant(s).

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   18         Having been advised by counsel that the above−entitled action has been settled,
   19    IT IS ORDERED that the above−captioned action is hereby dismissed without costs
   20    and without prejudice to the right, upon good cause shown within 30 days from the
   21    filing date of this Order, to re−open the action if settlement is not consummated.
   22    The court retains full jurisdiction over this action and this Order shall not prejudice
   23    any party to this action.

   24        IT IS SO ORDERED.
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        DATED: June 27, 2014                          /s/ Fernando M. Olguin
   26                                                Fernando M. Olguin
                                                     United States District Judge
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